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 1     BERGER & MONTAGUE, P.C.
       Eric L. Cramer (admitted pro hac vice)
 2     Michael Dell’Angelo (admitted pro hac vice)
       Patrick F. Madden (admitted pro hac vice)
 3     Mark R. Suter (admitted pro hac vice)
 4     1622 Locust Street
       Philadelphia, PA 19103
 5     Telephone: (215) 875-3000
       Fax: (215) 875-4604
 6     ecramer@bm.net
       mdellangelo@bm.net
 7
       pmadden@bm.net
 8     msuter@bm.net

 9     (Additional counsel appear on signature page)
10     Co-Lead Counsel for the Classes and
       Attorneys for Individual and Representative Plaintiﬀs
11     Cung Le, Nathan Quarry, Jon Fitch, Luis Javier
       Vazquez, Brandon Vera, and Kyle Kingsbury
12

13
                             IN THE UNITED STATES DISTRICT COURT
14
                                    FOR THE DISTRICT OF NEVADA
15

16     Cung Le, Nathan Quarry, Jon Fitch, Brandon       Case No.: 2:15-cv-01045-RFB-(PAL)
       Vera, Luis Javier Vazquez, and Kyle
17     Kingsbury on behalf of themselves and all
       others similarly situated,
18
                      Plaintiffs,                       INDEX OF EXHIBITS TO
19            v.                                        DECLARATION OF ERIC L. CRAMER,
20                                                      ESQ.
       Zuffa, LLC, d/b/a Ultimate Fighting
21     Championship and UFC,

22                    Defendant.
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 1           Pursuant to Local Civil Rule IA 10-3(d), Plaintiffs submit this Index of Exhibits to the

 2    Declaration of Eric L. Cramer, Esq.

 3     Exhibit Number      Description
              1            Expert Report of Hal J. Singer, Ph.D. (August 31, 2017)
 4            2            Rebuttal Expert Report of Hal J. Singer, Ph.D. (January 12, 2018)
              3            Expert Report of Andrew Zimbalist in Cung Le, et al. v. Zuffa, LLC
 5
                           (August 30, 2017)
 6             4           Expert Rebuttal Report of Andrew Zimbalist (December 26, 2017)
               5           Expert Rebuttal Report of Professor Alan Manning (January 12, 2018)
 7             6           Expert Report of Guy Davis, CPA, CIRA, CDBV, CFE (August 31, 2017)
               7           Rebuttal Expert Report of Guy Davis, CPA, CIRA, CDBV, CRE (January
 8                         12, 2018)
 9             8           Deposition of Hal J. Singer, Ph.D. Exhibit 2 (September 27, 2017) - UFC -
                           Hal Singer Report - Errata I
10             9           Deposition of Hal J. Singer, Ph.D. Exhibit 3 (September 27, 2017) - UFC -
                           Hal Singer Report - Errata II
11            10           Deposition of Andrew Zimbalist, Ph.D. Exhibit 2 (September 25, 2017) -
                           Errata to the Expert Report of Andrew Zimbalist in Cung Le et al. v. Zuffa,
12
                           LLC
13            11           Expert Report of Professor Robert H. Topel (October 27, 2017)
                           (excerpted)
14            12           Expert Report of Paul Oyer (October 27, 2017) (excerpted)
              13           30(b)(6) Deposition of Kirk D. Hendrick (November 29, 2016) (excerpted)
15
              14           Deposition of Kurt Otto (February 6, 2017) (excerpted)
16            15           Deposition of Jeremy Lappen (February 28, 2017) (excerpted)
              16           Deposition of Lorenzo J. Fertitta (March 23, 2017) (excerpted)
17            17           Deposition of Sean Shelby (April 12, 2017) (excerpted)
              18           30(b)(6) Deposition of Drew Goldman (April 28, 2017) (excerpted)
18            19           Deposition of Joseph Silva (June 7, 2017) (excerpted)
19            20           Deposition of Scott Coker (August 3, 2017) (excerpted)
              21           Deposition of Dana F. White (August 9, 2017 – Vol. 2) (excerpted)
20            22           Deposition of Paul Oyer (November 29, 2017) (excerpted)
              23           Deposition of Robert H. Topel (December 5, 2017) (excerpted)
21            24           Deposition of Robert H. Topel (December 6, 2017) (excerpted)
22            25           Deposition of Roger D. Blair, Ph.D. (December 8, 2017) (excerpted)
              26           ZFL-1240584
23            27           ZFL-1376378
              28           ZFL-1384297 (excerpted)
24            29           ZFL-1391183
25            30           ZFL-1421551
              31           ZFL-2469208
26            32           ZFL-12543287
              33           ZUF-00031544
27            34           ZUF-00122280
28

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 1     Exhibit Number   Description
             35         ZUF-00162329 (excerpted)
 2           36         ZUF-00296703
             37         ZUF-00336384
 3
             38         DB-ZUFFA-00006389 (excerpted)
 4           39         DB-ZUFFA-00006712 (excerpted)
             40         RAINE0020633 (excerpted)
 5           41         WME_ZUFFA_00001150 (excerpted)
             42         30(b)(6) Deposition of Jeff Quinn Exhibit 3 (excerpted)
 6           43         Le v. Zuffa - Motion to Dismiss Hearing Transcript (September 25, 2015)
 7                      (excerpted)
             44         Roger Blair, Sports Economics (Cambridge University Press 2012)
 8                      (excerpted)
             45         Dana White stands by “pay for rankings” claim, says UFC is the NFL of
 9                      MMA, MMA Junkie (June 14, 2010), available at
                        http://mmajunkie.com/2010/06/dana-white-stands-by-pay-for-rankings-
10
                        claim-says-ufc-is-the-nfl-of-mixed-martial-arts.
11           46         UFC President Dana White Discusses Heavyweight Partnership with EA
                        Sports, Fortune.com (June 17, 2014), available at
12                      http://fortune.com/2014/06/17/dana-white-ufc-q-a/.
             47         Defendant Zuffa, LLC’s Responses to Plaintiffs’ Second, Third, and
13                      Fourth Set of Requests for Admission (May 8, 2017) (excerpted)
14           48         Deposition of Dana F. White (August 9, 2017 – Vol. 1) (excerpted)

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 1    Dated: February 16, 2018           Respectfully Submitted,

 2                                       By: /s/ Eric L. Cramer
                                                 Eric L. Cramer
 3
                                         Eric L. Cramer (Pro Hac Vice)
 4
                                         Michael Dell’Angelo (Pro Hac Vice)
 5                                       Patrick F. Madden (Pro Hac Vice)
                                         Mark R. Suter (Pro Hac Vice)
 6                                       BERGER & MONTAGUE, P.C.
                                         1622 Locust Street
 7                                       Philadelphia, PA 19103
 8                                       Phone: (215) 875-3000/Fax: (215) 875-4604
                                         ecramer@bm.net
 9                                       mdellangelo@bm.net
                                         pmadden@bm.net
10                                       msuter@bm.net
11                                       Joseph R. Saveri (Pro Hac Vice)
12                                       Joshua P. Davis (Pro Hac Vice)
                                         Jiamin Chen (Pro Hac Vice)
13                                       Kevin E. Rayhill (Pro Hac Vice)
                                         JOSEPH SAVERI LAW FIRM, INC.
14                                       601 California Street, Suite 1000
                                         San Francisco, California 94108
15                                       Phone: (415) 500-6800/Fax: (415) 395-9940
16                                       jsaveri@saverilawfirm.com
                                         jdavis@saverilawfirm.com
17                                       jchen@saverilawfirm.com
                                         krayhill@saverilawfirm.com
18
                                         Benjamin D. Brown (Pro Hac Vice)
19
                                         Richard A. Koffman (Pro Hac Vice)
20                                       Daniel H. Silverman (Pro Hac Vice)
                                         COHEN MILSTEIN SELLERS & TOLL, PLLC
21                                       1100 New York Ave., N.W., Suite 500
                                         Washington, DC 20005
22                                       Phone: (202) 408-4600/Fax: (202) 408 4699
                                         bbrown@cohenmilstein.com
23
                                         rkoffman@cohenmilstein.com
24                                       dsilverman@cohenmilstein.com

25                                       Co-Lead Class Counsel
26

27

28
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 1                                        Liaison Counsel for the Class

 2                                        Don Springmeyer (Nevada Bar No. 1021)
                                          Bradley S. Schrager (Nevada Bar No. 10217)
 3                                        WOLF, RIFKIN, SHAPIRO, SCHULMAN &
                                          RABKIN, LLP
 4
                                          3556 E. Russell Road, Second Floor
 5                                        Las Vegas, Nevada 89120
                                          Phone: (702) 341-5200/Fax (702) 341-5300
 6                                        dspringmeyer@wrslawyers.com
                                          bschrager@wrslawyers.com
 7

 8                                        Additional Counsel for the Classes:

 9                                        Robert C. Maysey (Pro Hac Vice)
                                          Jerome K. Elwell (Pro Hac Vice)
10                                        WARNER ANGLE HALLAM JACKSON &
                                          FORMANEK PLC
11                                        2555 E. Camelback Road, Suite 800
12                                        Phoenix, AZ 85016
                                          Phone: (602) 264-7101/Fax: (602) 234-0419
13                                        rmaysey@warnerangle.com
                                          jelwell@warnerangle.com
14
                                          Frederick S. Schwartz (pro hac vice)
15                                        LAW OFFICE OF FREDERICK S. SCHWARTZ
16                                        15303 Ventura Boulevard, #1040
                                          Sherman Oaks, CA 91403
17                                        Phone: (818) 986-2407/Fax: (818) 995-4124
                                          fred@fredschwartzlaw.com
18
                                          William G. Caldes (admitted pro hac vice)
19                                        SPECTOR ROSEMAN KODROFF & WILLIS, P.C.
20                                        1818 Market Street – Suite 2500
                                          Philadelphia, PA 19103
21                                        Phone: (215) 496-0300/Fax: (215) 496-6611
                                          wcaldes@srkw-law.com
22
                                          John D. Radice (admitted pro hac vice)
23
                                          RADICE LAW FIRM, P.C.
24                                        34 Sunset Blvd.
                                          Long Beach, NJ 08008
25                                        Phone: (646) 245-8502
                                          jradice@radicelawfirm.com
26

27

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                                            4
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